       Case 1:21-cr-00175-TJK Document 738 Filed 04/06/23 Page 1 of 8




                                U.S. District Court
                               District of Columbia


UNITED STATES


v.                                    1:21-cr-00175-TJK
PEZZOLA, et al


 DEFENDANT PEZZOLA’S NOTICE OF EXPERT ON WINDOW DAMAGE
                       VALUATION

COMES NOW Pezzola, by and through undersigned counsel, with this Notice of

expert witness Duffy Hoffman. Mr. Hoffman is the world’s foremost authority

on window replacement and valuation in historic buildings. Mr. Hoffman has

personally replaced over 20,000 panes of glass and supervised window

replacement projects at the Russell Building and/or other significant historic

buildings and homes on Capitol Hill and elsewhere.

     Mr. Hoffman will testify regarding national standards for billing and

valuation regarding replacement of the window described in Count 7. Mr.

Hoffman will testify that under no normal, conventional, or recognized industry

standard could the damage to the window described in Count 7 be valued as high

as $1,000 or more. Mr. Hoffman will also testify regarding the inadequacy of the

invoicing and billing documents provided thus far in this trial.
       Case 1:21-cr-00175-TJK Document 738 Filed 04/06/23 Page 2 of 8




The government has been notified regarding Mr. Hoffman since December.


     Our colleague Nick Smith, counsel for Nordean, notified the prosecution of

Duffy Hoffman as early as December 2020. Additional emails have been

exchanged between the prosecution and counsel for Pezzola beginning in

January. The prosecution has had full opportunity to research Duffy Hoffman

and prepare to examine Mr. Hoffman. The likely testimony of Hoffman is hardly

controversial.

Expert Hoffman is necessary to rebut unexpected claims made by the
government in the government’s case in chief.

     Contrast this with the government’s shocking presentation of evidence

regarding the Count 7 window damage valuation. On direct examination, AUSA

Mulroe astoundingly asked the prosecution witness representing the Architect of

the Capitol (AOC) if the proper way to value the damage described in Count 7

was the same as valuation of a window damaged at Mulroe’s house. Whereupon

the government witness said no (over Pezzola’s timely objection); that the proper

means of valuation for the window described in Count 7 was the high-priced

methods described by the AOC witness.

     This, of course, has fundamentally misled the jury as to a material point.

The statute in question, U.S.C. § 1361, does not allow the U.S. government to
       Case 1:21-cr-00175-TJK Document 738 Filed 04/06/23 Page 3 of 8




present “willful injury or depredation of United States property” as some sort of

proprietary concept solely within the authority of the government.

     Rather, the statute is silent regarding how the jury should evaluate damage

to U.S. property. It is a fact question for the jury. The jury could very properly

determine that the proper way to valuate the damage to the window in question is

the same as valuating damage to a window at AUSA Mulroe’s house.

     Accordingly, expert Hoffman’s expert testimony will assist the jury in its

determination.

RESPECTFULLY SUBMITTED,
/s/ Roger Roots, esq.
Roger Roots
Co-counsel for Defendant Pezzola


CERTIFICATE OF SERVICE
I hereby certify and attest that on April 6, 2023, I caused this document to be
uploaded into this Court’s electronic filing system, thereby serving it upon all
parties
of record.
/s/ Roger Root

      Duffy Hoffman’s Curriculum Vitae (Resume’)
Preservation Specialist for Historic Structures
7440 Adams St Forest Park IL,60130

Duffy has restored hundreds of historic structures. Here are some of his notable works:

2021-LIVE OAKS -OWNERS WALTER LITTON AND AGNES McCREA.(circa
1911)location WILLMIGTON,NC
        Case 1:21-cr-00175-TJK Document 738 Filed 04/06/23 Page 4 of 8



Restoration of Windows,doors and shutters. Also restored the dome on the interior.




2018-2019- Mt Gilboa Afro American Methodist Church,(circa 1850)
Ellicott City,MD

Restoration of the sashes and Paint coatings. This was a Historic Maryland Trust job.

2020 - DC Senators Building- He was the consultate on the project for three years
for Centennial Preservation Goup out of Columbus OH.
window restoration.

2017-2019- Loving Chairity Church,(circa 1825) Fredrick, MD

Remaking of all the frames and sash. Structure had been left go and the church
was torn down and rebuilt in the same spot. some the sash where round tops.
Paint coatings as well where done.


2009-2010 Webster Springs Rail Road Depot, (circa early-mid
1900s), Webster Springs, WV
Re-constructed all window sash, interior jams and sills. Restored exterior frames,
doorway, transom and hardware.

2009 Hill House Museum (circa 1906), Beverley, WV
Restored all window sashes and paint coatings.

2006-8 Cornwall Iron Furnace (circa 1742-1883), Cornwall, PA
The Cornwall Iron Furnace: the only 18th Century intact charcoal blast iron furnace in the
Western Hemisphere. Restored all Gothic windows: applied borate to prevent rot; consolidated
all sash in building with epoxy; replaced sills and frames; completed paint removal and
painting; studied wood condition and restored wood in window frames. Worked with project
architects and state officials to devise a comprehensive program for stripping, repair, and
restoration of windows. Researched and documented historic changes to windows.

2007 Charles Carol Manor Estate (circa 1766), Ellicott City, MD
The estate of Charles Carol, a signer of the Declaration of Independence. Restored
windows and front door. Removed and re-installed 2,500 corbel brackets.
Nick named the DoughrAgon Mananor.

2007 Ephrata Cloister Village (circa 1732), Ephrata, PA
        Case 1:21-cr-00175-TJK Document 738 Filed 04/06/23 Page 5 of 8



The first intentional settlement in America, founded by German settlers seeking spiritual
rather than earthly rewards. Restored windows in print shop for the Pennsylvania
Historic Museum Commission.

2006-7 Washington’s Crossing Park, Washington’s Crossing, PA (1700s to 1870):
Restored seven structures on Washington’s Crossing park, a property of the
Pennsylvania Historic Museum Commission.
        2006-7 Eliza Taylor Residence, Washington’s Crossing, PA
The Taylors were the original settlers of Taylorsville, now called Washington’s Crossing.
Completely restored rotted window frames, sash, doors, doorways, completely removed paint
on all fascia, soffits, frieze boards, window frames and window sashes.
       2006-7 McConkey's Ferry Inn, Washington’s Crossing, PA
Where Washington had his last meeting before crossing the Delaware. Restored dormers.
Stabilized framing of front roof. Cleaned and removed flaking coatings off of fascias and
soffits. Restored original 18th Century plaster ceiling. Matched historic paint color. Restored
exterior door and frame in basement.

       2006-7 McConkey's Ferry Ice House, Washington’s Crossing, PA
Where all ice was stored for Taylorsville village. The only one of its kind with a door built in the
roof for loading ice and a tunnel underneath to retrieve the ice. Restored roof finial, repaired
all fascia and soffits.
       2006-7 Mahlon Taylor House, Washington’s Crossing, PA

Son of original founders of Taylorsville. Restored all shutters and hardware. Stabilized all
window sash, completed all wood repair.
       2006-7 Taylor Family Gazebo on the Green, Washington’s Crossing, PA
Where Taylor family held functions and marriages. Removed all tracery and railing brackets;
numbered and documented condition of all tracery and brackets; fabricated braces to hold
tracery together during restoration with epoxy and Dutchmen. Removed paint from all
brackets and tracery then applied historically faithful paint coatings. Resecured building to
concrete base. Reaffixed columns back to base. Applied borate to entire structure to prevent
rot. Restored original metal roof and finial at top. Restored and fabricated decorative trim
moldings. Restored benches.
       2006-7 Black Smith Shop, Washington’s Crossing, PA
Stabilized all windows and window frames. Repainted and remanufactured doors and metal
hardware.
       2006-7 Isaac Taylor House Washington’s Crossing, PA

Completely restored back porch: removed flooring; restored rotted plating and beaming;
replaced floor; completely remade all handrails and balusters according to historical period;
remade stairs; repainted.
       2006-7 Benjamin Taylor House, Washington’s Crossing, PA
Completed mold and bacteria remediation of building's walls, floors and ceilings.
        Case 1:21-cr-00175-TJK Document 738 Filed 04/06/23 Page 6 of 8




2006 Shofuso Japanese House and Garden, Philadelphia, PA
Removed unnecessary coatings on walls of tea house in preparation for the application of
correct coating by Japanese craftsmen.

2006 Keith House (circa 1722), Horsham,
PA
The mansion of the first Governor of Pennsylvania. Restored and re-keyed the original bifold
door. Remilled and manufactured front door. Restored door frames using epoxy and wood
Dutchmen. Restored basement window sash, with original security bars.

2005 First Church of Christ (circa 1695), Philadelphia,
PA
First Church in Philadelphia where William Penn, Benjamin Franklin and other founding
fathers attended. Restored last remaining original window.

2002 Rittenhouse/Hoffman House (circa 1887), Flemington,
NJ
Work featured on Home and Gardens Television. Stripped coatings. Restored wood, shutters
and windows. Primed and painted finishing work, valleys and metal roof.

2001-2002 The Highlands Estate (circa 1766-1860), Fort Washington, PA
Property of Pennsylvania Historic Museum Commission, once owned by Anthony
Morris, the largest financial contributor to the Revolutionary war. Work featured on
Home and Gardens Television. Restored all sash and all shutters.
       2007 Highlands Bank Barn (1794-1796)
One of the first English bank barns in America. Restored windows, large barn doors,
beams and paint.

1998-2000 Tusculum Estate (circa 1773), Princeton,
NJ
The estate of John Witherspoon, a signer of the Declaration of Independence. Work featured
on Home and Gardens Television. Removed historic paint on all exterior wood surfaces:
shutters, windows, window frames, soffits, fascia, porticoes, porches, railings and columns.
Removed interior historic paint on doors and moldings. Prepared and applied all interior and
exterior paint coatings. Completely restored handrails and balusters on the third story
staircase. Restored moldings. Weatherized all windows.
       Tusculum Barn

One of the best examples of 18th Century barns in New Jersey. Won best barn restoration in
New Jersey 2000-2001. Replaced ¼ of original hemlock flooring with recycled historic
hemlock wood. Repaired window headings. Restored all window sash, replaced missing sash
with handmade original in-kind sash.
        Case 1:21-cr-00175-TJK Document 738 Filed 04/06/23 Page 7 of 8




1999 House of Governor Cleveland, future president, Princeton, NJ
The place of President Cleveland's death in 1908. Prepared and repaired all stucco and wood
surfaces on exterior. Completed wood and plaster repair in interior. Weatherized windows.

1997 Sheldon House (circa 1840), Princeton,
NJ
House of the first president of the Princeton seminary. Restored for the Bonner Foundation.
Removed interior and exterior historic paint coatings. Repaired historic interior plaster
surfaces. Completely restored all windows. Repaired all interior hardware. Managed
and collaborated with other master specialists in traditional trades to complete the project
with historic accuracy. Completely documented all changes made to architectural features
and paint colors in drawings, photographs and reports.

1988-9 State Assembly’s State House Foyer (circa 1792), Trenton,
NJ
Re-painted the fixed columns around the marble carvings in interior foyer of the original
State House of New Jersey, designed by John Goodyear.




Duffy is a third-generation craftsman of the historic trades with over thirty years of
experience as a preservationist.

Duffy is dedicated to passing on his knowledge of the trades to preserve them in the
United States. He has taught well attended classes at the Traditional Building
Conferences for eight years, as well as at the International Preservation Trades
Workshop for fifteen years. Duffy has also collaborated with the Old House Journal in
teaching workshops at the organization's Historic Homes Show as “the Old House
Doctor” for over ten years. Duffy has completed the only DVD demonstrating sash
restoration from A to Z. He has also recorded a DVD for the Eco-Strip Company on
historic paint removal and lead safe work practices an.Duffy was the founder of the
Window perservation standards collaboration and co author of there book. he also was
a board member that started the Perservation trades net work.

He also started the student scholarship program at the International Preservation
Trades Workshops, to make the trades more accessible to the next generation. He has
taught workshops for preservation societies and technical schools in Alabama, West
Virginia, Illinois, Maine, Vermont, Minnesota, Louisiana, Delaware, Maryland, Virginia,
Ohio, Pennsylvania, Washington, DC, New Jersey, New York, Kentucky,
Massachusetts,Tennessee,Missoouri,North Carolina and Texas. In 2013, Duffy received
       Case 1:21-cr-00175-TJK Document 738 Filed 04/06/23 Page 8 of 8




the honorable “Askins” award from Preservation Trades Network. The Askins
Achievement Award is named in honor of James S. (Jim) Askins, founder of the National
Park Service Historic Preservation Training Center and recognizes contributions over
and above the noteworthy. The award criteria includes contributions to the preservation
trades for: the continuance of traditional building skills, advocacy of training in
preservation trades, practicing a building trade at master level of skill and knowledge,
and extraordinary effort given to advancing the awareness of traditional building trade
skills and knowledge.
Duffy is the first founder of the Window Preservation Standards Collaborative, which
wrote a definitive standards book on all of the technical procedures for preserving
windows, for use by craftsmen, architects and historians as a reference and as the
standard for certifying preservation instructors. The four other founders of the
Collaborative were David Gibney, Bob Yapp, John Leek and Jim Turner, who with Duffy
collectively have a total of 160 years of experience in sash restoration.

From 2005-2006, Duffy assisted the Painting and Decorating Contractors of America
in writing the painting standards for the paint industry, which defined painting
procedures for interior and exterior applications.

As an innovator who has explored how best to combine historic techniques and new
materials to extend the life of restorations, Duffy is a resource in the trades community.
His innovative use of the steam box and speed heater for paint removal has been
respected for years. He is always available to consult with his colleagues to address
their preservation challenges.

Duffy believes if you share your knowledge and volunteer and teach what you know it
can only make the world a better place.

His pro bono donation of preservation workshops to the AmeriCorps program in Elkins,
West Virginia was recognized with an award for Outstanding Education and Volunteer
Work in 2012.

Duffy also volunteered as a preservationist in New Orleans in the 9th Ward and the Holy
Cross District after Hurricane Katrina, evaluating historic structures after the flood.

Duffy is living in Chicago. he has a shop in Chicago,Ohio and PA. He gives workshop at
his shops and is teaching for the Painting Decorating Contractors of America and
Restoring windows.

Contact Duffy At 215-262-0729/ www.sashmasterduffy.com
duffy.hoffman@gmail.com
